                            IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                     SOUTHERN DIVISION
                                       NO. 7:22-cv-178-FL

 SAVE OUR CHILDREN TRUTH                        )
 COMMISSION, et al,                             )
                       Plaintiffs,              )
                                                )                    ORDER
 v.                                             )
                                                )
 UNITED STATES GOVERNMENT, et al,               )
                      Defendants.               )


        TO: Desiree Peterson

        The documents in the above captioned matter, received by the court on 10/11/2022, are deficient

in the following respects:

      ☐ You must either file an application to proceed without prepayment of fees or pay
      $402.00.
      ☐ The complaint is not legible.
      ☐ The application to proceed without prepayment of fees does not have an original
      signature.
      ☐ Not all sections of the application to proceed without prepayment of fees have been
      completed.
      ☐ The filing entitled "" is not signed.
      ☒ You have not provided a financial disclosure statement.
      ☐ You have not provided a civil cover sheet.
      ☒ You have not provided a notice of self-representation.
      ☐ You have not provided proposed summons for all of the necessary parties for service
      of this action.
      ☐ The defendant is a government agency or employee, and summonses are required for
      the agency or employee, the U.S. Attorney General, and the U.S. Attorney Civil Process
      Clerk.
      ☐ The U.S. Marshal will be unable to effect service upon defendant due to insufficient
      address information included on the summons.
      ☐ Other:




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       The Clerk is DIRECTED to provide all the necessary forms regarding the deficiencies above to

Plaintiffs for completion.

       Plaintiffs are DIRECTED to correct the deficiencies listed above and return the corrected

documents within fourteen (14) days from the filing of this order. Failure to do so may result in the

dismissal of this action without prejudice for failure to prosecute.

       SO ORDERED, this 9th day of November, 2022.


                                     __________________________________
                                     LOUISE W. FLANAGAN
                                     United States District Judge




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